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            EXHIBIT C
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                                                                                                   D. Christopher Robinson
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                                                                                                        crobinson@fbtlaw.com
August 2, 2024



VIA ELECTRONIC MAIL



Tim Panagopoulos
Agrovana
500 Medford St.
Charlestown, MA 02129

       Re:     Prime Hydration LLC and Congo, LLC’s Response to
               Agrovana’s July 23, 2024 Letter

Dear Mr. Panagopoulos:

        We represent Prime Hydration LLC and Congo, LLC (collectively “Congo”) and write in
regard to Agrovana’s July 23, 2024 letter rejecting Congo’s rejection and/or revocation claim for
goods shipped to Congo, submitted to Agrovana on July 11, 2024 (“Claim”). Agrovana’s rejection
of Congo’s Claim lacks reasoning and support, both in fact and law. As such, Congo hereby
formally reasserts its rejection of the Coconut Water Powder (“CWP”) lots described in the Claim,
as well as all CWP lots currently in production or shipment. Further, in light of Agrovana’s recent
actions and statements, as well as its inactions and inability to deliver CWP conforming to Congo’s
specifications and industry standards or that are fit for their particular purpose, Congo has
reasonable grounds for insecurity with respect to whether Agrovana will duly perform its
obligations under the purchase orders and arrangements with Congo. Accordingly, pursuant to
applicable law, including the Uniform Commercial Code (“UCC”) in effect in the Commonwealth
of Kentucky, § 2-609(1), Congo hereby demands that Agrovana provide adequate assurance of
Agrovana’s due performance of its obligations under the purchase orders and arrangements with
Congo, including with respect to conformance with Congo’s quality standards and the warranties
implied by law and prevalent in the industry with respect to all CWP lots.

        As fully outlined in previous discussions, Congo has determined that Agrovana and its
manufacturers have failed to maintain the required inspection processes and system controls
needed to provide CWP that meets the ordinary purposes for which Congo uses it. Congo reached
this conclusion after it conducted a review and inspection following industry-wide practices as it
relates to Statistical Quality Inspections. Additionally, as you know, Congo’s internal
specifications for CWP follow industry standards and represent the specifications expected for
CWP in Congo’s use of it.

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        As part of Congo’s review, Congo has identified consistent failures in Agrovana’s
production and provision of acceptable CWP. The first failure was discovered and reported after
Congo was alerted to the discovery of foreign material—including but not limited to metal,
plastics, and dark spots—in the CWP at its co-packing partner’s facility in Anaheim, California in
February 2023. These foreign materials were found in Neel Ayush materials and bottled finished
PRIME products on the bottling line. Subsequently, Agrovana submitted a CAPA documenting
corrective action to be taken to address the “[p]resence of foreign metal objects in product” and
“black solid observed by customer” in the product. Following this CAPA, Congo inspected all
CWP lots at Agrovana and Congo-controlled storage locations following acceptable industry
standards to determine if foreign materials were present throughout all CWP lots.

         The lots identified in Congo’s Claim failed to conform with the agreement between Congo
and Agrovana and failed to meet the ordinary purposes for which CWP is used. These lots were
identified through Congo’s review and inspection process along with third-party Eurofins
statistical sampling and testing. Based on both, Agrovana and its manufacturers have failed to
control their systems to prevent the inclusion of large particulates in the final CWP product
received by Congo. Lastly, based on the foregoing, Congo has a reasonable belief that all CWP
not yet delivered to the United States fails to conform to the acceptable standards due to the failed
systems in place. Congo and/or its co-packing partners are incurring or may incur significant costs
to cure the non-conformities in the CWP product described herein for the lots already delivered to
the United States, as further described below.

        Pursuant to Kentucky UCC § 2-601 and § 2-608, Congo respectively rejects and/or revokes
its acceptance of all lots identified in its Claim to Agrovana. Based on both Congo’s investigation
and testing conducted by Eurofins, the product delivered to Congo is not fit for the ordinary
purposes for which it is to be used. Congo reasonably assumed that the non-conforming lots would
be cured by Agrovana after the discovery of foreign materials within the CWP lots. However, in
Agrovana’s rejection of Congo’s Claim it has failed to seasonably cure the non-conformity. Congo
therefore provides this timely revocation of its acceptance of the CWP lots outlined in its Claim.

      Further, due to Agrovana’s failure to provide adequate, conforming, and non-contaminated
CWP products and the additional costs resulting to Congo in connection therewith, as well as
Congo’s insecurity and lack of belief in Agrovana’s ability to adequately perform going forward,
Agrovana is no longer an approved or qualified supplier of CWP products to Congo or its
managed-brands.

       Congo requests payment of $3,188,400.94 for the failed CWP lots already delivered
to the United States. Congo further requests instruction from Agrovana as to the disposition of
the rejected product. Should Congo pay for any storage, transportation, logistics, and/or
destruction or disposition costs—or any other damages or costs outlined as recoverable by Congo
in UCC §§ 2-712, 2-714, and 7-715—relating to the failed CWP lots, Agrovana will be ultimately
responsible for such charges.

       Furthermore, pursuant to UCC § 2-609, Congo will not accept or submit payment for any
additional CWP lots unless it receives adequate assurances from Agrovana and its manufacturers.

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Congo has reasonable grounds for insecurity concerning Agrovana’s ability to provide CWP
without foreign materials and dark spots.       Congo requests documentation evidencing
improvements made to prevent foreign materials and non-specification, including documentation
evidencing:

             •    The sourcing and handling of raw materials;

             •    The mixing process and filtration of raw materials as they are introduced into the
                  spray dryers;

             •    Spray dryer controls including the temperature, air handling, and coconut water
                  feed rate;

             •    Improved system maintenance and cleaning procedures to remove fouling and
                  buildup;

             •    Improved downstream inspection including in-process quality inspections, finished
                  product sieving before packaging, and random statistical lot inspection and retain
                  management.

Congo requests these assurances be fulfilled via documentation within thirty (30) days of this
letter. If not, all purchase orders and contracts between Congo and Agrovana will be deemed
repudiated.

       Please provide Agrovana’s written acceptance of the full demanded amount described
above within ten (10) calendar days. Additionally, please provide the outlined assurances within
twenty (20) calendar days.



                                                         Sincerely,




                                                         D. Christopher Robinson


DCR:RPD



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